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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                        §
                                                §
                                                §
VS.                                             §     CRIMINAL NO. H-06-52-8
                                                §
                                                §
AMBROSIO RODRIGUEZ                              §

                                           ORDER

       The defendant, Ambrosio Rodriguez, has filed a motion to request counsel. Rodriguez

pleaded guilty in 2006 to conspiracy to possess methamphetamine (ice) with the intent to distribute

it. He was sentenced in 2007. He did not appeal and his plea agreement included a broad waiver

of the right to do so or to file a postconviction challenge. Rodriguez apparently seeks counsel to

pursue the possibility of a Rule 35 reduction in sentence. There is no basis to appoint counsel for

such a purpose. The motion (Docket Entry No. 987) is denied.

               SIGNED on May 11, 2011, at Houston, Texas.


                                                    ______________________________________
                                                             Lee H. Rosenthal
                                                       United States District Judge
